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Exhibit B
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Trending: A billionaire’s land swap Wild ice lures skaters How Denver is spending the $41M from the Broncos sale

                           EQUITY, NEWS

                           Boulder Valley schools punish Black and Latino
                           students at higher rates than most Colorado dis-
                           tricts. Parents want more accountability.
                           Latino students at BVSD are about 3.5 times more likely to
                           be suspended than white students, a Boulder Reporting Lab
                           analysis of district data shows. The district and parents are
                           not in total agreement on how to address the longstanding
                           problem.
                                  Dan Shore, Jonathan Godes, and John Clark
                                  3:25 AM MDT on Jul 19, 2022
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Noemi Lastiri is a member of the Latino Parent Advisory Council. The group has been advocating for changes to how BVSD punishes students. (John Herrick, Boulder Reporting
Lab)
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Black and Latino parents of Boulder Valley School District students have
been raising alarms for years that their children are punished more often
for the same behaviors as white students. The district’s own data has
consistently shown this disparity.

In 2020, under mounting pressure, BVSD reformed its discipline policies to
try to reduce inequities. It removed police from schools, streamlined
punishment guidelines across classrooms, and trained educators to de-
escalate and resolve conflicts without resorting to punishment.

Since the reforms, fewer students have been suspended or referred to
police. But the disparities that prompted the new policies remain.
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Latino students were about 3.5 times more likely to be suspended than
white students during the 2021-22 school year, according to data provided
to Boulder Reporting Lab by the district. That figure reflects a disparity
dating back more than a decade.

While Latino students made up nearly 20% of BVSD’s 29,000 students,
they accounted for about 44% of the suspensions.
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The data indicate Latino students are generally punished for the
same behaviors as their white peers — threats of physical harm,
disobedience, fighting, possessing tobacco and marijuana.

Suspensions and police referrals can have lasting impacts on young lives.
Such punishment reduces the odds of graduating, makes it harder to
excel academically, and increases the chances of entering the criminal
legal system.

“There has not been progress,” said Noemi Lastiri, member of the Latino
Parent Advisory Council, which the district set up to advise it on equity
issues. “Kids in high school keep complaining that they are not treated
equally by teachers or by staff.”




To contextualize the trends in Boulder, BRL analyzed data from the
Colorado Department of Education for the state’s 12 largest districts for
the 2010-2011 to 2018-2019 school years. (Discipline data is unreliable for
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disparities in Boulder reflect the systemic racial and ethnic disparities
across the nation.

“Before starting in the school district, I reviewed the data and realized
that, you name the metric, we were disproportionate,” Anderson said in
an interview.

Disproportionate discipline isn’t the only problem for Black and Latino
BVSD students. They’re less likely to graduate, enroll in advanced courses,
or join its gifted and talented program.

“When you think about our discipline disproportionality, it aligns with our
achievement disproportionality,” Anderson said.
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During his first year on the job, he created the Latino Parent Advisory
Council to address these disparities. The council is one of the only
platforms of its kind in Colorado to give parents a voice in district policies.
At the request of the group, the district said it will begin publishing data
on its website in August 2022 that breaks down disparities by each of its 57
schools.

The data will help the district identify how policies are playing out.
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“We have a long way to go to get better. And the only way you can get
better is if you really own and understand the issue,” Anderson said. “You
start to look at data and use data as a mirror to see where those things are
working or not working. It could be that the district’s disproportionality is
really being heavily influenced by a handful of schools.”

Parents interviewed for this story support reforms made so far by the
district. But they say the changes don’t go far enough. They would like to
see leniency for students who defend themselves from bullying, along
with more teacher accountability.

“For the first time [BVSD] acknowledges that they have not made
progress, that we still have a huge problem. And I think that’s a start,”
said Ana Fernandez Frank, co-coordinator of the Latino Parent Advisory
Council. “But we want to see what they’re planning on actually doing.”
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Jamillah Richmond is the founder of the Parents of Color Council, a separate group advising the district. Her 9-
year-old daughter attends a BVSD school and has been punished for responding to bullying. (John Herrick,
Boulder Reporting Lab)


Bullying and self-defense
Jamillah Richmond is the co-founder of the Parents of Color Council, a
separate group advising the district. Her 9-year-old daughter attends a
BVSD school.
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She said her daughter has been sent to the office for responding to
bullying at her elementary school. In one instance, she said, her daughter
was cornered by four white students. She pushed one of them away. In
another instance, a boy kept touching her hair so she slapped his hand. In
both situations, her daughter faced repercussions.

“Culturally, if you touch our hair, we’re slapping your hand, which is
exactly what my daughter does. But she gets punished,” Richmond said.

Other parents of Black and Latino students told Boulder Reporting Lab
about similar situations in which their kids were punished after defending
themselves.

“We need to stop penalizing children of color for defending themselves
when they’re being confronted with different varying degrees of
violence,” Richmond said.

For this reason, she prefers not to use the phrase “disproportionate
discipline.”
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“Discipline implies a kid did something wrong to begin with,” she said.
“You are not wrong for defending yourself.”

The district’s discipline matrix, which it created in 2020 to offer
punishment guidance to schools, includes no mention of self-defense.
Richmond thinks it should, to encourage educators to consider context
around instances of violence.
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“If it’s not on paper, and we don’t have a clear and definitive definition of
what these things are and what consequences could or could not be applied
to them, then we’re leaving too much room open for interpretation and
trusting people who have blind spots and biases,” she said. “And I think
that leaves open space for discrimination.”

Anderson, BVSD’s superintendent, agrees bullying is a concern. The
district has made it easier to report bullying on its website. But he said it’s
tricky to balance physical force with school safety.

“If you’re blocking punches so you don’t get hurt, that’s self-defense. If
you engage in a physical altercation with someone else, we don’t view that
as self-defense,” he said.

Parents can appeal disciplinary measures to the district’s Board of
Education. But Jorge Chavez, chair of the District Accountability
Committee, an oversight panel required under state law, said some
parents face challenges in speaking out.

“I’m pretty fortunate. I’m an immigrant, but I’m bilingual. I know how the
system works here,” Chavez said. “For a lot of parents who either don’t
feel comfortable with the English language, who aren’t familiar with the
educational system, who don’t have the resources and the time to get
involved, it’s harder for them to have their voices elevated to where their
concerns are being heard.”
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The Boulder Valley School District building in Boulder on Nov. 17, 2021. The district has changed its discipline
policy to address disparities in punishment. (Anthony Albidrez, Boulder Reporting Lab)

“We all have unconscious biases”
The district is open about discussing how structural inequities contribute
to disparities in discipline. But some want it to do more to acknowledge
racial bias among staff.

“The root cause is racism. We have to call it what it is so that we can
address it. I’m not saying that teachers are bad people or anything. We all
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have unconscious biases,” said Fernandez Frank, of CAPL, the acronym for
the Spanish name for the parent group, Consejo Asesor de Padres Latinos.

That’s why, first and foremost, parents want the district to hire more
Black and Latino teachers and staff. Kids do better in school when their
teachers look like them. BVSD’s teachers were 86% white last school year,
about the same as the state average. Their students were 67% white.

In February, the district hosted a “Teachers of Color Hiring Event.”
Boulder pays teachers more than any other district in the state. But
Anderson said the region’s high cost of housing and low turnover rate
makes hiring difficult. “It becomes incredibly challenging to try to
diversify your workforce very quickly, because you just don’t have the
vacancies.”

Parent groups have also been asking for data on teachers’ disciplinary
referrals. And they want the district to include in staff evaluations any
racial disproportionality in their punishment of students. They also want a
public process for filing and tracking discrimination complaints.

“They keep kids accountable for their actions. And I think that it’s only
fair that adults are held to a similar standard,” Fernandez Frank said.

Anderson opposes such measures.

“I don’t think that’s a good idea. I think that creates a culture of fear. You
need to have people open to get better,” Anderson said. “My goal here
isn’t to place blame on folks. It’s to fix the systemic issues.”
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                           The district already kicked off monthly meetings in each school to devise
                           solutions. This may include cultural competency training. “That’s why you
                           have these conversations locally,” he said. “Locally, it may be that there
                           are teachers who do need additional training or grade levels who want the
                           additional training.”

                           This difference will likely remain a sticking point.

                           “I don’t want to wait until they fix their unconscious bias. I want them not
                           to be in contact with kids,” Fernandez Frank said. “Those kids are going to
                           continue to suffer until this teacher learns. And I don’t think that’s fair for
                           students.”

                           UPDATED: This story was updated at 9:26 on July 22, 2022, to clarify that
                           Jamillah Richmond is a co-founder of the Parents of Color Council.




                           Chasing Progress is a Colorado News Collaborative-led multi-newsroom
                           reporting project examining the social, economic and health equity of
                           Black and Latino Coloradans over the last decade. The project builds off
                           2013’s “Losing Ground,” an I-News/RMPBS series that tracked similar
                           measures from 1960-2010. We welcome stories of your experiences last
                           decade as well as suggestions for future Chasing Progress stories at
                           chasingprogress@colabnews.co.



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      They agreed a dress code is needed, but said schools need to remember that
      middle schoolers are still figuring out their style and what looks good. Schools
      also should focus more on teaching boys to be respectful instead of treating girls
      as potential distractions, they said.

      “If you’re going to have a dress code, do it right and be fair,” Sophie said.




       Tags: Boulder Valley School District



                      Amy Bounds | Reporter
                      Amy Bounds covers K-12 education for the Boulder Daily Camera
                      and Longmont Times-Call


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Exhibit E
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                              Boulder Valley School District
                              File: JDHB
                              Adopted: June 9, 2020


                                            BULLYING

The Board of Education supports a school climate conducive to teaching and learning that is
free from any type of bullying behavior. The purpose of this policy is to promote consistency
of approach and to help create a safe, equitable, and positive climate in which all types of
bullying are regarded as unacceptable.

 A.      Definitions

      1. Bullying: Any written text or image, or verbal expression, or physical or electronic
         act or gesture, or a pattern thereof, that is intended to coerce, intimidate, or cause
         any physical, mental, or emotional harm to any student.
      2. Cyberbullying: Bullying involving the use of communication technologies such as
         computers, cell phones, and other electronic devices to support deliberate and
         hostile behavior intended to do harm to others. Examples of cyberbullying can be in
         the form of text messages, instant messaging, emails, threatening or embarrassing
         photos or videos, and any use of any social media platform.

 B.      Prohibition

 Bullying is prohibited against any student for any reason, including but not limited to any
 such behavior that is directed toward a student on the basis of academic performance or
 any basis protected by federal and state law, including disability, race, creed, color, sex
 (which includes marital status), sexual orientation, gender identity/expression (national
 origin, religion, ancestry, immigration status, the need for special education
 services, or physical characteristics, whether such characteristic(s) is actual or perceived.

 Bullying is prohibited on district property, at district or school-sanctioned activities and
 events, when students are being transported in any school or district vehicle, or off school
 property when such conduct has a nexus to school or any district curricular or non-
 curricular activity or event.

 C.      Prevention

 Bullying prevention efforts are most effective when implemented school-wide and designed to
 send a message that bullying will not be tolerated in schools. Well-designed bullying
 prevention efforts can reduce, eliminate and prevent bully/victim problems, as well as
 significantly improve the overall school climate. Effective bullying prevention also requires a
 commitment on the part of all adults to reduce or eliminate bullying and accessible reporting
 procedures for victims and witnesses.
 Effective prevention programs may be implemented at the school level or the classroom level.
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The use of prevention programs may vary according to maturity level of students, grade level,
learning environment goal(s) for the school, etc.

Monitoring data related to bullying is crucial to the bullying prevention efforts. Data shall be
collected and may be evaluated through surveys, questionnaires, analyzing discipline
statistics, and data collected for school social emotional learning goal(s).

All kids involved in bullying--whether they are bullied, bully others, or witness bullying--may
experience negative outcomes including impacts on mental health, substance abuse and
suicide. Parents, school staff and community all play a role in supporting our students when
providing for their physical, social and emotional needs. A variety of resources are available
regarding bullying prevention:
              StopBullying.gov
              Cyberbullying.org
              Safe2Tell.org
              adl.org/what-we-do/promote-respect/bullying-cyberbullying-prevention

D.       Expectations for Reporting and Investigation

All administrators, teachers, classified staff, parents/guardians and students should take all
reasonable steps to prevent and address bullying.

     ●   All students who believe they have been victims of bullying, harassment, hazing,
         intimidation or threatening behavior should immediately report the situation to
         school personnel.

     ●   All students who witness bullying are expected to make all reasonable efforts to seek
         the help of school staff. Failure to report such behavior is detrimental to the school
         learning environment and may be grounds for disciplinary consequences.

     ●   All administrators, teachers, and classified staff who receive reports of and/or
         witness student bullying, in any circumstance, shall immediately take appropriate
         action to stop the behavior. Such behaviors shall be reported to school
         administration. In addition, school administrators shall communicate with parents of
         all students involved, alleged victims, alleged bullies, and witnesses.

     ●   Each school administrator shall ensure that reports of bullying are promptly and
         thoroughly investigated in accordance with the guidelines in JDHB-E and applicable
         law. Administrators are directed to attend to the needs of the victim(s) of the
         behavior as well as to the needs of the alleged bully(s). Interventions or sanctions
         may be warranted, as well as addressing broader issues of school culture and climate
         of which the behavior may be symptomatic. A written summary of the investigation
         and its findings must be provided to the parent/guardian of any student alleging to
         have bullied or been bullied and to the parent/guardian of any student alleged to
         have bullied.


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     ●   School administrators shall provide the protections and procedures (including
         timelines for investigation and resolution) under Board Policy AC and AC-R if
         allegations of bullying concern unlawful discrimination or harassment on the basis of
         disability, race, creed, color, sex (which includes marital status), sexual orientation,
         gender identity/expression, national origin, religion, ancestry, immigration status, the
         need for special education services, or physical characteristics, whether such
         characteristic(s) is actual or perceived.

     ●   Notify parent/guardian that they may seek further review of the school’s
         investigation through Board Policy AC if alleging unlawful discrimination or
         harassment or through Board Policy KE.

     ●   All incidents are to be documented in the student information system and any
         behavior or safety plan communicated to parents.

E.       Consequences

Violations of this policy are detrimental to the welfare and safety of the victim, as well as
disruptive to the school learning environment. In deciding on appropriate discipline and
interventions, the circumstances surrounding the behavior, the severity of the conduct, and
whether the conduct represents a pattern should be considered. Interventions and discipline
for student bullying may range from counseling, restorative justice and in-school suspension
to suspension and/or expulsion. In its sole discretion, the School District may conduct a
threat assessment regarding bullying behavior. A referral to law enforcement shall be made
when appropriate. The Board expects that parents/guardians shall be informed about their
student’s significant behaviors and school discipline. Also, the Board expects schools will
notify parents about threat assessments and referrals to law enforcement, as appropriate
and as soon as possible which may be after the referral has been made.

If parents/guardians/students are not satisfied with the outcome of the school’s investigation
and resolution, they may pursue additional District review. Board Policy AC governs the review
of allegations concerning unlawful discrimination or harassment on the basis of disability,
race, creed, color, sex (which includes marital status), sexual orientation, gender
identity/expression, national origin, religion, ancestry, immigration status, the need for special
education services, or physical characteristics. Board Policy KE governs the review of all other
allegations of bullying.

LEGAL REFS:
C.R.S. § 22-32-109.1 (1)(b) (definition of bullying)
C.R.S. § 22-32-109.1(2)(a)(I)(K) (policy required as part of safe schools plan)

CROSS REFS.:
AC, Nondiscrimination/Equal Opportunity
JB, Equal Educational Opportunities
All JD and JR policies, Student Conduct and Discipline Code KE, Complaints and Concerns
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Exhibit G
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                             Boulder Valley School District
                             File: JDHB-E
                             Adopted: June 9, 2020



               INVESTIGATING AND RESPONDING TO BULLYING COMPLAINTS

1. Receive allegation. Ask for the reporting party to put it in writing, but do not require it.

2. Consider whether there is an obligation to notify law enforcement or child protection.

3. Take immediate action and conduct a timely investigation. Timelines for investigation and
   resolution are provided under Board Policy AC and AC-R for allegations of bullying or
   harassment on the basis of disability, race, creed, color, sex (which includes marital status),
   sexual orientation, gender identity/expression, national origin, religion, ancestry,
   immigration status, the need for special education services, or physical characteristics,
   whether such characteristic(s) is actual or perceived. All other allegations of bullying must
   be investigated immediately and concluded within a reasonable period of time.

4. Document each and every meeting, phone call, message, and other relevant action with
   clear and objective notes. Essential steps include:

        •       Meet with alleged victim(s) individually. Ask:
                  - for a detailed account of what happened
                  - for names of witnesses
                  - if anyone else has been subjected to misconduct by the
                      alleged bully
                  - what outcome the victim would like to see
                  - if the victim is in fear of the aggressor or apprehensive about
                      attending school/class/activity.

        •   Determine whether remedies* (see below) should be in place during the
            investigation to protect against further actions or allegations.

        •   Meet with alleged bully(s) individually. Inform of the allegations, to the extent
            appropriate. Ask:

                   -   for a detailed account of what happened
                   -   for names of witnesses
                   -   a response to the allegations (if appropriate)
                   -   what outcome the student would like to see
                   -   if the student is in fear or apprehensive about attending
                       school/class/activity
                   -   explain that retaliation will not be tolerated



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        •   Investigate information received from alleged victim(s) and alleged bully(s),
            including interviewing all relevant witnesses.

        •   Check for signs of change in academic performance, attendance or behavior of
            alleged victim(s) and alleged bully(s).

        •   Collect other documentary evidence (ex. health room reports, police reports,
            printouts of cyberbullying)

5. Communicate with parents/guardians of all students involved.

6. Determine whether bullying occurred.

            As set forth in Board Policy JDHB,

            Bullying: Any written text or image, or verbal expression, or physical or
            electronic act or gesture, or a pattern thereof, that is intended to coerce,
            intimidate, or cause any physical, mental, or emotional harm to any student.

            Cyberbullying: Bullying involving the use of communication technologies such as
            computers, cell phones, and other electronic devices to support deliberate and
            hostile behavior intended to do harm to others. Examples of cyberbullying can be
            in the form of text messages, instant messaging, emails, threatening or
            embarrassing photos or videos, and any use of any social media platform.

7. If an investigation reveals that bullying, including discriminatory harassment as defined in
   the Board’s nondiscrimination policy, has occurred, assure that prompt and effective
   steps are taken that are reasonably calculated to:

       a. End the harassment
       b. Eliminate any hostile environment and its effects, and
       c. Prevent the harassment from recurring.

   Examples of “prompt and effective” steps to end harassment or interim remedies for the
   alleged victim(s) and/or alleged bully(s) may include:

                  -   Separation of schedules, classes, lockers, busses, even schools if
                      necessary
                  -   Offer of counseling and adult support
                  -   “No Contact” agreements, if adequate
                  -   Schedule changes
                  -   Safety plan for victim and/or bully
                  -   Modification of behavior support plan (if IEP)
                  -   Assign a “go to” person for the victim
                  -   Disciplinary action

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                 -   Training or other interventions to ensure that all students, their families,
                     and school staff are informed
                 -   Compensatory services to the victim
                 -   Empower aggressors to change
                 -   Restorative justice, that could include an intervention with the entire
                     group attending weekly meetings for several months using counselor/
                     interventionist/mediator. This may only occur with the specific
                     agreement of the alleged victim(s).

           See more ideas at:
                 https://www.stopbullying.gov/prevention/support-kids-involved

           IMPORTANT: In determining how interim remedies are implemented, school
           officials must consider the remedies that provide the most access for students to
           their education and least disruption, while ensuring reasonable steps are taken to
           end the bullying/harassment. Schools should not default to imposing remedies on
           alleged victims or alleged bullies, but should make an individualized
           determination as to the appropriate remedies based on the information available,
           including the input of impacted students and parents/guardians.

8. Prepare a written report of the investigation and determination of whether
   bullying occurred. Include:
                 • Date complaint received
                 • Names of alleged victim and alleged bully (when provided to families only
                    their student’s name may be revealed; others should be blacked out or
                    substituted with Student 1, Student 2, etc.)
                 • Brief description of complaint/allegations
                 • Steps taken in investigation (witnesses interviewed, information
                    reviewed)
                 • Summary of investigative findings
                 • Reference to applicable policy and code of conduct provisions
                 • Determination of whether the investigation substantiated that bullying
                    occurred
                 • Determination of whether the conduct is sufficiently severe, pervasive or
                    persistent so as to interfere with or limit a student’s ability to participate
                    in or benefit from the services, activities or opportunities offered by a
                    school for those allegations of unlawful discrimation or harassment in
                    violation of Board Policy AC (on the basis of disability, race, creed, color,
                    sex (which includes marital status), sexual orientation, gender
                    identity/expression, national origin, religion, ancestry, immigration status,
                    the need for special education services, or physical characteristics).
                 • Recommendation and description of action(s) to be taken




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   9. Share outcome of investigation with parents, but protect confidentiality under FERPA,
      usually phone call followed by written notice. Notify parent/guardian that they may
      seek further review of the school’s investigation through Board Policy AC if alleging
      unlawful discrimination or harassment or through Board Policy KE.

  10. Create plan for following up with end date; revise plan as necessary. Make sure all
      involved know how to report subsequent problems.

TIPS:
        ●   Reassure reporters that they have done the right thing by making a report and
            make sure they know they will be protected from retaliation.
        ●   Things NOT to say:
              ○     “I’m sure he didn’t mean it.”
              ○     “Boys will be boys”; “Girls are just mean to each other at this age.”
              ○     “We can’t protect them from everything.”
              ○     “If she just didn’t    , then kids wouldn’t pick on her.”
        ●   When interviewing witnesses:
             ○      Who, what, when and where
             ○      Ask open-ended questions
             ○      Take legible notes
             ○      Quote exact language
             ○      Do not add personal commentary
             ○      Include date and start/stop time of interview
             ○      Read notes back to witness
             ○      Ask witness to provide written statement (in addition to interview)




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Exhibit H
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                       Boulder Valley School District
                       File: GBEE
                       Adopted: November 27, 2001
                       Revised: October 23, 2012, August 14, 2018


Associated Regulation: GBEE-R
Associated Exhibits: GBEE-E-1
                     GBEE-E-2

      STAFF USE OF DISTRICT TECHNOLOGY, THE INTERNET AND ELECTRONIC COMMUNICATIONS
The Internet, various forms of electronic communications, and other District technology resources have
vast potential to support curriculum and learning. Accordingly, the Board of Education believes these
resources should be used in schools as a learning resource to educate and to inform.
The Board of Education supports the use of the Internet, electronic communications, and other District
technology by staff to improve teaching and learning through interpersonal communication, access to
information, research, training and collaboration and dissemination of successful educational practices,
methods and materials.
The Internet and electronic communications are fluid environments in which District staff may access
materials and information from many sources. Staff members shall take responsibility to for their own
use of District technology resources while on or off of the District network, as well as use of personal
devices while connected to the District network, in accordance with this policy. District technology
resources must be used only for educational purposes, or to perform assigned job responsibilities.


Filtering:
Web filtering technology that blocks or filters material and information that is unsuitable for students as
defined by federal and state law and Board policy shall be deployed by the District. Staff must report
access (their own or that of a student or other staff member) to material or information that is
unsuitable for students as defined by federal and state law, professes a threat of violence or self harm,
or otherwise in violation of this policy, to their supervisor or District administration and the Information
Technology service desk.


No expectation of privacy
District technology resources are owned by the District and are intended for educational purposes,
District business and performance of assigned job responsibilities at all times. Staff members have no
expectation of privacy while using District technology resources. The District reserves the right to
monitor, inspect, copy, review and store (at any time and without prior notice) all usage of District
technology resources, including, but not limited to, all Internet, network, application, and electronic
communications access and transmission/receipt of materials and information, including such activity on
personal devices while connected to the District network. The District reserves the right to utilize and

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apply decryption technology such activity within the District (at any time and without prior notice) to
the extent allowable by law. All material and information accessed/received through District technology
resources shall remain the property of the District.


Public records
Electronic communications sent and received by District staff may be considered a public record subject
to public disclosure or inspection under the Colorado Open Records Act. All staff electronic
communications shall be monitored to ensure that all public electronic communication records are
retained, archived and destroyed in accordance with applicable law and District policy.


Unauthorized and unacceptable uses
Staff members must use District technology resources, as well as personal technology resources while
connected to the District network, in a responsible, efficient, ethical and legal manner and in accordance
with applicable law and District policy.
Use of District technology resources, systems, and networks for personal gain is prohibited.
Because technology and ways of using technology are constantly evolving, every unacceptable use of
District technology resources cannot be specifically described in policy. Therefore, examples of
unacceptable uses include, but are not limited to, the following.
No staff member shall access, create, transmit, retransmit or forward material, information, or other
data:
      • that promotes violence or advocates destruction of property including, but not limited to, access
      to information concerning the manufacturing or purchasing of destructive devices or weapons
      • that is not related to District education purposes
      • that contains pornographic, obscene or other sexually oriented material or information, either
      as pictures or writing, or is otherwise inappropriate as defined by state and federal law and
      District policy
      • that harasses, threatens, demeans, or promotes violence or hatred against another person or
      group of persons in violation of the District’s nondiscrimination policies
      • for personal profit, financial gain, advertising, commercial transaction or political purposes
      • that plagiarizes the work of another
       •that uses inappropriate, derogatory, or profane language likely to be offensive to others in the
      school community
      • that is knowingly false or could be construed as intending to purposely damage another person's
      reputation
      • in violation of any federal or state law, including but not limited to copyrighted material and
      material protected by trade secret
      • that contains personal information about themselves or others, including personally identifiable
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      information defined and protected by confidentiality laws including but not limited to the Family
      Educational Rights and Privacy Act (FERPA) and the Student Data Transparency and Security Act
      • that impersonates another individual, group, or organization
Intentional access or attempt to access material defined above, or defined as unsuitable elsewhere in
this policy or in state or federal law, is considered a direct violation of this policy and may subject the
staff member to disciplinary action, up to and including termination, and/or criminal or other legal
action.


Security
Information security is a high priority for the District. The District is dedicated to adhering to the most
current industry standard information security best practices and continuous improvement of its
security posture. Staff members who identify abuse, in violation of policy or otherwise, or a security risk
or vulnerability while using District technology resources must immediately notify a supervisor, the
Information Technology Service desk, and District administration. Staff members must not communicate
or demonstrate the problem to other users. Utilization of credentials other than those assigned to the
user for their own exclusive use is strictly prohibited. Account names or credentials used in the Boulder
Valley shall not be duplicated or reused for any purpose external to the District. Access privileges are
subject to the principle of least privilege; in addition, access to sensitive data may be subject to the
requirement of need to know.
Users are strictly prohibited from performing or attempting to perform the following actions:
        • gaining unauthorized access to District technology resources, data, networks or systems and
        by extension, third party data, networks, or systems integrated with the District
        • reading, altering, copying, exfiltrating, destroying, or otherwise harming any data outside the
        user’s own authorized scope of access, to include but not limited to, any official file or record of
        the District or data of another user.
        • attacking, destroying, or disrupting the functionality of District technology resources, systems,
        or networks, including but not limited to denial of service attacks, or the unauthorized alteration
        of hardware or software
        • performing reconnaissance efforts including but not limited to network, system, or
        vulnerability scanning or any other method utilized to identify or execute security vulnerabilities
        to obtain unauthorized access to any system or data or for any other purpose.
        • reading, altering, or modifying network packets
        • exploiting any security vulnerability in an effort to gain unauthorized access accounts, systems
        or data
        • downloading, storing, installing, or utilizing malicious software
        • deploying or utilizing any malicious hardware
        • bypassing or evading security or filtering measures by use of a proxy, virtual private
        networking, tunneling, or any other method

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        • employing any type of social engineering effort to gain unauthorized access to District
        systems, data, or accounts or data of other users
        • posting, sharing, or otherwise making available account, system, or network information that
        would provide access to unauthorized parties, or increase the likelihood of access by
        unauthorized parties.
        • performing any other action that will increase the level of vulnerability, risk, or exposure to
        threats to District technology resources, networks, systems, or data.
        • use of any District technology resource, system, or network performing any of the
        aforementioned activities against any network or system external to District
        • staff are prohibited from the use of cellular hotspots while on District property with the
        exception of the event of an emergency or outage which requires use
Staff are prohibited from accessing, storing, or processing data protected by the Family Educational
Rights and Privacy Act (FERPA), the Student Data Transparency and Security Act or otherwise deemed
sensitive in nature by the District on any device other than that which has been assigned for exclusive
use by the staff member, or has been explicitly designated as an administrative or staff use only device.
Staff are prohibited from the use of USB or other removable storage devices within the District, or with
District technology resources, without the express consent of the CIO or designee.
Any device, application or other District technology resource storing or processing data protected by the
Family Educational Rights and Privacy Act (FERPA), the Student Data Transparency and Security Act or
otherwise deemed sensitive in nature by the District must not be left unattended while logged in;
devices must employ a configured and enabled lock screen mechanism triggered by a timer, inactivity,
or both; and web based applications must employ an auto-logout mechanism triggered by inactivity
Any user identified as a security risk, or as having a history of problems with other technology resources,
may be denied access to District systems, networks and other technology.


Confidentiality
Staff members shall not access, receive, transmit or retransmit data or any other material regarding
students, parents/guardians, District staff or District affairs that is protected by confidentiality laws,
including but not limited to the Family Educational Rights and Privacy Act (FERPA) and the Student Data
Transparency and Security Act, unless such access, receipt, or transmittal is in accordance with their
assigned job responsibilities, applicable law and District policy. In order to maintain data confidentiality
and compliance, data subject to confidentiality laws, as well as any other data designated as sensitive by
the District, shall employ the use of encryption. It is imperative that staff members who store and share
confidential student information in digital form understand how to do so in a safe and secure manner,
so that confidential records are not inadvertently shared with the wrong party or made publicly
available in any other manner. Staff members who disclose student records or other confidential
student information in a manner inconsistent with applicable law and District policy may be subject to
disciplinary action, up to termination, and/or criminal or other legal action.
If material is not legally protected but is of a confidential or sensitive nature, great care shall be taken to

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ensure that only those with a “need to know” are allowed access to the material.


Data Handling
Storage of District data, in any form, is restricted to District issued technology resources. Staff are
prohibited from storing District data, in any form, on personal devices. Storage of District data in
unsanctioned external storage providers or applications is strictly prohibited.
Staff members are highly encouraged to configure and utilize multi-factor authentication for any District
sanctioned application where data protected by the Family Educational Rights and Privacy Act (FERPA),
the Student Data Transparency and Security Act or otherwise deemed sensitive in nature by the District
will be stored or processed.
Any device, including but not limited to stationary workstations, mobile devices, permanently attached
or approved removable storage, storing or processing data protected by the Family Educational Rights
and Privacy Act (FERPA), the Student Data Transparency and Security Act or otherwise deemed sensitive
in nature by the District shall employ encryption technology to maintain confidentiality of data.
Staff connecting any personal devices, such as cell phones (including cell phones where a stipend is
provided), laptops or tablets, to District sanctioned applications are required to utilize a screen lock
mechanism with an automatic screen lock timeout configured.
All District data or data created by District staff while performing their assigned responsibilities,
including email, must be securely destroyed when the data no longer maintains value or valid purpose
to the District and in accordance with law and the District’s record retention schedule. The District
reserves the right to securely reclaim, remove access, or destroy data not meeting value or validity
standards (to include email and other electronic communications) at any time and without prior notice.


Use of social media
Staff members may use social media within school District guidelines for instructional purposes,
including promoting communications with students, parents/guardians and the community concerning
school related activities and for purposes of supplementing classroom instruction. As with any other
instructional material, the application/platform and content shall be appropriate to the student’s age,
understanding and range of knowledge.
Staff members are prohibited from communicating with students through personal social media
platforms/applications. Staff who would like the use social media as an educational tool are required to
create and utilize a professional account for exclusive use for District educational purposes.
Online or electronic conduct resulting in a negative impact to the educational environment or other
conduct in violation of District policy may form the basis for disciplinary action, up to and including
termination, and/or criminal or other legal action.


District-owned Technology Hardware
Staff-issued District technology resources are the sole responsibility of the staff member. Theft, loss, or

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damage of all staff-issued hardware devices must be replaced or reimbursed by the staff member, with
the exception of theft within a District building where clear evidence is present and a police report has
been filed. Staff members must follow Business Services procedures for reporting the incident.


Unauthorized software
Staff members are prohibited from using or possessing any software that has been downloaded or is
otherwise in the user's possession without appropriate registration, licensing, and payment of any fees
owed, has not been approved through the District software approval process, has been deemed
unacceptable by BVSD or otherwise does not comply with District policy or state and federal laws.


Staff member use is a privilege
Use of District technology resources and Internet and electronic communications requires personal
responsibility and an understanding of and agreement to the acceptable and unacceptable uses of such
tools as defined in this policy. Provisioning of District technology resources for use by staff is a privilege,
not a right. Availability to and use of District technology resources by staff is contingent upon
acceptance of and compliance with this policy. Failure to follow the use procedures and requirements
contained in this policy will result in the loss of the privilege to use these tools and restitution for costs
associated with damages, and may result in disciplinary action, up to and including termination, and/or
criminal or other legal action. The District may deny, revoke or suspend access to District technology or
close accounts at any time.
Staff members are required to sign the District's Acceptable Use Agreement before technology resource
accounts will be issued or access allowed utilizing District owned devices. Staff will be prompted with
and must accept this agreement while connecting to the District network with their personal devices.


School District makes no warranties
The District makes no warranties of any kind, whether express or implied, related to the use of District
technology resources, including access to the Internet and electronic communications services.
Providing access to these services does not imply endorsement by the District of the content, nor does
the District make any guarantee as to the accuracy or quality of information. The District is not
responsible for any damages, losses or costs a staff member or student suffers in using the Internet and
electronic communications. This includes loss of data and service interruptions. Use of any information
obtained via District technology resources is at the staff member’s own risk.


Definition:
As used in this policy, the terms “staff,” “staff member” and “District staff” include any person employed
by the District, student teachers, interns, volunteers, contractors, or any other third party under
contract to perform work or services or process data for the District.



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LEGAL REFS.: 47 U.S.C. 254(h) (Children's Internet Protection Act of 2000)
             47 U.S.C. 231 et seq. (Child Online Protection Act of 2000)
             20 U.S.C. 6801 et seq. (Elementary and Secondary Education Act)
             C.R.S. 22-87-101 et seq. (Childrenʼs Internet Protection Act)
             C.R.S. 24-72-204.5 (monitoring electronic communications)
End of File: GBEE




                                                                               Page 7 of 7
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Exhibit I
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                      Boulder Valley School District
                      File: GDPD
                      Adopted: February 23, 1989




                 SUSPENSION AND DISMISSAL OF SUPPORT STAFF MEMBERS

  Specific dismissal procedures shall be established with each employee group.

  Two weeks' written notice shall be given regular employees who are dismissed as a result of
  retrenchment or abolition of position due to lack of work or funds or for reasons beyond
  the employee's control. Temporary employees may be dismissed without advance notice.

  When an employee demonstrates inability to do the work assigned, the department
  supervisor or principal will advise the employee in writing according to established District
  procedures, and shall offer concrete suggestions for correction and improvement. If, after a
  reasonable length of time, it becomes evident that the employee cannot satisfactorily fill
  the position, the employee shall be dismissed.

  An employee dismissed for just cause may be dismissed without advance notice but will be
  given written notification setting forth the reasons for dismissal. "Just cause" includes, but
  is not limited to:

     1. Absence without notification;

     2. Excessive absence or tardiness;

     3. Abuse of illness leave privileges;

     4. Discourteous, offensive, or abusive conduct or language toward other employees,
        students, or the public;

     5. Unethical or obscene actions, gestures, or statements toward other employees,
        students, or any other person while on District property, during working hours, or at
        any time or place to the extent the conduct may adversely affect the operations of
        the District or the employee's fitness to perform his or her duties;

     6. Dishonesty;




                                                                                     Page 1 of 2
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     7. Possessing, using, transmitting, addiction to, or being under the influence of
        any narcotic drug, hallucinogenic drug, amphetamine, barbiturate, marijuana,
        alcoholic beverage, chemical, controlled substance, or intoxicant of any kind
        not prescribed by a physician, while on duty or while on District property at
        any time as an employee;

     8. Falsifying any information supplied to the School District, including, but not limited
        to, information supplied on application forms, employment records, or any other
        School District records;

     9. Incompetency or inefficiency in the performance of duties, including, but not limited
        to, failure to follow or carry out instructions or failure to perform a job assignment in
        a satisfactory manner;

     10. Insubordination, including, but not limited to, refusal to properly perform assigned
         work;

     11. Failure to possess a valid driver's license, or being denied coverage as a driver of
         District vehicles by the general liability insurance carrier insuring the District, when it
         is a requirement of the position;

     12. Failure to follow District policies, safety regulations, procedures, or practices or
         failure to report conditions or situations which could be injurious to personnel or
         equipment;

     13. Medical disability resulting in unfitness for continued duty;

     14. Provoking, instigating, or participating in a fight or scuffle on District property or
         while on duty;

     15. Temporary or permanent removal, use of, or possession of District property without
         proper authorization; and

     16. Conduct by an employee at any time or in any place which may adversely affect the
         health, safety, or welfare of students or personnel, the operation of the District, or
         the employee's fitness to perform his or her duties.

  An employee so dismissed may, if he or she desires, pursue the matter through the line of
  authority outlined in the appropriate grievance procedure. Should the decision be made in
  the employee's favor, he or she will not suffer any loss in pay or other fringe benefits as a
  result of the time and grievance hearing.

  LEGAL REFS.: C.R.S. 22-32-110(1)(h) C.R.S. 22-32-126(3)
  End of File: GDPD

                                                                                        Page 2 of 2
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Exhibit J
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From:            Kathleen Sullivan
To:              Kellie Miller
Cc:              Kara Phillips
Subject:
Date:            Tuesday, February 7, 2023 2:30:40 AM



Ms. Miller,

I am in receipt of your letter. Please direct your future correspondence to my and my
Legal Assistant's attention only. Your clients are welcome to communicate with
Principal Sarah Oswick and school staff.

I write to address your clients' expressed concerns about        safety and wellbeing at
school. Ms. Oswick and District leadership have investigated and do not find any
concern for         safety presented by employees or students. Ms. Oswick has
communicated with the family about a support plan for        , and stands ready to
work with        and his parents to get him back in school.

BVSD has and is investigating several interrelated elements and allegations, including
those presented in your lengthy letter. If you have evidence or information beyond the
referenced Facebook page, please direct that to my attention so that it may be
considered as part of the School District's investigation. As the investigation proceeds,
I will follow up with more information and response.

If you would like to discuss your clients' concerns and learn more about the School
District's processes, I would be happy to speak with you by phone.
Best regards,
Kathleen Sullivan
she, her, hers
720-561-5834




On Fri, Feb 3, 2023 at 4:00 PM Kellie Miller <kmiller@allenharrislaw.com> wrote:

  Dear Attorney Sullivan,



  Attached please find a letter on behalf of my clients,                      , and their
  minor son,              . I look forward to hearing from you.
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 Thank you,




 Kellie J. Miller, Esq.

 ALLEN HARRIS PLLC

 kmiller@allenharrislaw.com | Pennsylvania Office | PO Box 673 | Narberth, PA 19072

 www.allenharrislaw.com | Tel:                | Fax: (860) 481-7899
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From:          Kathleen Sullivan
To:            Kellie Miller
Cc:            Kara Phillips
Subject:
Date:          Wednesday, February 8, 2023 9:03:30 PM
Attachments:   Support Plan (Flex).pdf



Ms. Miller,
I am writing to follow up on our conversation of yesterday.

The purpose of the call was to discuss what the School and BVSD could do to address
the family's immediate concerns and get       back to school as well as to better
understand the family's allegations.

Starting with the plan for       to return to school, you requested a no contact
directive and that         support plan be updated, specifically to remove language
that you viewed as punitive. Today, Principal Oswick provided an updated support
plan for       (attached). BVSD welcomes family input into support plans, and I am
happy to review any additional updates you may propose. With respect to the no
contact directive, a no contact plan is in place for the students, and BVSD has advised
the employee not to engage with           We are confident that these arrangements will
provide for         safety at school.

You did indicate that       will not return to school unless and until BVSD directs the
removal of an employee's Facebook post. As discussed below, BVSD is investigating
the family's complaint about the post. Based on the information currently available,
BVSD is not able to direct removal of the post at this time. We hope that the family
will consider returning      to school with the other steps taken, and the School will
remain ready, willing, and able to welcome        back when the family is ready.

With respect to the family's allegations, you requested that BVSD agree to investigate
the allegations of misconduct by a BVSD employee and to conduct a bullying
investigation of        treatment by another student. As I told you, BVSD will
complete both investigations.

With respect to the complaint about the employee, BVSD had already begun an
investigation and will address any new allegations in your letter as part of that
investigation. During our phone call, you confirmed that the parents' central allegation
is that the employee allegedly targeted the student and family in a January 22 Facebook
post and in subsequent comments or Facebook reactions to that post.  
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 At this point, my clients need the district to propose a full resolution that addresses all their
 concerns, or the next communication you see will be service of a lawsuit to put an
 immediate halt to the racially hostile environment and the racially disparate treatment of
 their son. My clients are also willing to take their story public. It is simply unacceptable for
 a district employee to target a nine-year-student and his family, let alone for her to target
 them for racial harassment and intimidation, and for the district to sit idle while a child
 cannot safely attend school. If                and his family were Black, and Ms. Richmond
 was white, we both know this situation would have been handled very differently. And the
 public knows that as well.



 I hope to hear from you about a full resolution to this matter by Wednesday, February 15,
 2023, or my clients will take legal action to protect their child from ongoing harm.




 Kellie J. Miller, Esq.

 ALLEN HARRIS PLLC

 kmiller@allenharrislaw.com | Pennsylvania Office | PO Box 673 | Narberth, PA 19072

 www.allenharrislaw.com | Tel:




 From: Kathleen Sullivan <kathleen.sullivan@bvsd.org>
 Sent: Wednesday, February 8, 2023 9:03 PM
 To: Kellie Miller <kmiller@allenharrislaw.com>
 Cc: Kara Phillips <kara.phillips@bvsd.org>
 Subject:



 Ms. Miller,
 I am writing to follow up on our conversation of yesterday.


 The purpose of the call was to discuss what the School and
 BVSD could do to address the family's immediate concerns and
Case 1:23-cv-00580 Document 5-2 Filed 03/03/23 USDC Colorado Page 81 of 93
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 With respect to the complaint about the employee, BVSD had
 already begun an investigation and will address any new
 allegations in your letter as part of that investigation. During
 our phone call, you confirmed that the parents' central
 allegation is that the employee allegedly targeted the student
 and family in a January 22 Facebook post and in subsequent
 comments or Facebook reactions to that post.  


 In order to assure a complete investigation, I requested that you
 provide any information and evidence that supports the
 allegations asserted in your letter. While I understand that you
 declined to provide any additional documents, there is language
 in your letter that I do not find in the existing materials.
 Specifically, it would be helpful if you identified the source of
 the inset quote on page 2 which references "standard operating
 procedure".


 Also, as part of any investigation, BVSD talks with
 complainants. If                     would like to participate in
 the investigation and share information with
 BVSD's investigator, Dr. Harvey Oaxaca, they are welcome to
 do so.


 Based on the information available, BVSD expects this
 investigation will be completed in about a week. I will follow up
 if this timeline changes.
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Exhibit K
          Case 1:23-cv-00580 Document 5-2 Filed 03/03/23 USDC Colorado Page 85 of 93




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Exhibit L
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